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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID A. STEBBINS,                                 Case No. 24-mc-80006-PCP
                                                         Plaintiff,
                                   8
                                                                                            ORDER OF DUTY JUDGE
                                                  v.                                        ACCEPTING COMPLAINT FOR
                                   9
                                                                                            FILING IN PART
                                  10     THIAGO CHAGAS GARCIA BAZ,
                                                         Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13           On January 10, 2024, David A. Stebbins filed a complaint against defendant Thiago

                                  14   Chagas Garcia Baz alleging copyright infringement, libel, and misrepresentation under the Digital

                                  15   Millennium Copyright Act (DMCA), 17 U.S.C. § 512(f)(2). Mr. Stebbins has been declared a

                                  16   vexatious litigant in this district. See Stebbins v. Google LLC, No. 23-CV-00322-TLT, 2023 WL

                                  17   6139454, at *11 (N.D. Cal. Aug. 31, 2023). “As such, [before the Court will accept for filing] (1)

                                  18   any future actions against Google LLC, YouTube LLC, Alphabet Inc., or any of their affiliates, or

                                  19   (2) any claim of copyright infringement or copyright-related claims against any defendant, Mr.

                                  20   Stebbins must first provide a copy of his complaint and this Order to the Clerk of this Court, along

                                  21   with a letter requesting the complaint be filed. The Clerk shall then forward the complaint, letter,

                                  22   and copy of this Order to the Duty Judge for a determination whether the complaint should be

                                  23   accepted for filing.” Id.

                                  24           The Duty Judge, having reviewed the complaint, will permit the proposed complaint to

                                  25   proceed only as to the claims for copyright infringement. The claims for libel and DMCA

                                  26   misrepresentation may not proceed and will be struck from the complaint.

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                                   1          IT IS SO ORDERED.

                                   2   Dated: January 19, 2024

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                                                                                      P. Casey Pitts
                                   5                                                  United States District Judge
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Northern District of California
 United States District Court




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